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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                   SUPPLEMENT TO MOTION TO CONTINUE TRIAL

       Om June 29, 2022, Defendant Stephen K. Bannon, through his undersigned counsel, filed

a motion to continue the trial date in this case for a period of approximately ninety (90) days, or

for such other period of time after October 15, 2022, as this Court deems appropriate [Doc. 88].

On July 1, 2022, the Government filed its opposition to the motion [Doc. 93]. On July 6, 2022,

Mr. Bannon filed his reply in further support of the motion to continue [Doc. 95] and

Government counsel filed a motion to file a surreply [Doc. 96].

       The motion to continue the trial focuses mainly on the impact of the recent televised

public hearings held by the Select Committee and the need for a continuance to dissipate the

prejudice to Mr. Bannon’s constitutional fair trial rights flowing from the Committee’s

production, developed by a specially hired television producer for the intended maximum public

impact and influence, as set out in detail in the motion [Doc. 88]. In Mr. Bannon’s reply, Mr.

Bannon also cited a number of other factors that justify a continuance so that he can have a fair

trial. We file this supplement to inform the Court of additional developments in the last few days

that justify a continuance.




                                                 1
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                         July 8, 2022, Production by the Government

        On the evening of July 8, 2022, defense counsel received an email from Government

counsel with additional discovery. In the context of the litigation that has preceded this new

discovery, it is absolutely shocking that the Government is just now producing this material on

the eve of trial.

    Late Disclosure Of Phone Records The Government Has Had Since November 2021

        As the Court is aware, the Government’s conduct in trying to obtain Mr. Costello’s

and/or Mr. Bannon’s telephone, email, and social media records through multiple subpoenas and

at least one Stored Communications Act Order obtained by an application from Government

counsel has been the source of considerable litigation [Docs. 26; 31; 34; 58 at 48-51; 73 at 26-27;

Transcripts of Hearings March 16, 2022; June 15, 2022]. We had understood, however, that we

had been provided with the universe of relevant documents obtained during that time frame by

Government subpoena or other means and prior to July 8, 2022, the defense has been assured

since then that the Government has already exceeded its discovery obligations in this case and

has no more discoverable material to provide.1

        With the Government’s discovery production of July 8, 2022, Mr. Bannon has now

learned that the Government’s unjustifiable intrusion into the records of his professional advisors

in this misdemeanor case did not stop with the array of subpoenas and the Stored

Communications Act Order(s) directed to the records of his attorney, Mr. Costello. The defense

has learned for the first time on July 8, 2022, that the Government also obtained, apparently




1
 See e.g., “To date, we have provided you with material that exceeds our obligations under the
various discovery rules and doctrines.” [Doc. 86-2 – June 21, 2022 from Government counsel to
defense counsel]
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without any notice to the individuals involved, subpoenas for the personal telephone records of

one of Mr. Bannon’s key financial advisors2 and for another person whose connection to the

Defendant is yet to be revealed by the Government.3

          All of these records were subpoenaed by this same Government team during the same

time frame as the Costello records. They were provided to the Government by T-Mobile on

November 16th and November 17th, 2021, and clearly were in the Government’s possession all

during the litigation in this case surrounding the intrusive use of subpoenas. The Government’s

purported excuse for seeking Mr. Costello’s records was that it wanted to determine whether Mr.

Costello provided a copy of the Committee’s subpoena to Mr. Bannon.4 It is hard to imagine the

justification the Government will offer for seeking the personal phone records produced on July

8, 2022. But, whatever that justification, it is outrageous that after all the discussion about this

inexcusably intrusive conduct, the Government is only now, some eight months after the fact and

on the eve of trial, disclosing this information. Mr. Bannon respectfully requests an opportunity




2
 Government counsel acknowledge in a letter that accompanied this late discovery that the
numbers for which they subpoenaed records “do not appear to be associated with (Mr.
Bannon)…” during the time period for which they obtained them by subpoena; but they “believe
(the phone numbers) may have been associated with him at some point ….” [July 8, 2022 cover
letter from Government counsel]. That is truly troubling once again.

The records provided on July 8th for this financial advisor include 29 pages of T-Mobile personal
telephone use, from September 22, 2021 through October 21, 2021. The subpoenaed records the
Government obtained reflects the numbers to which all calls were made and from which all calls
were received, IMSI and IMEI numbers and more.

3
 The records provided on July 8th for this person include 61 pages of similarly detailed private
phone call information.

4
    See e.g., March 16, 2022 Hearing Tr. at 11-13.
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to fully explore the matter and this further supports his motion for a continuance. There is no

excuse for this prejudicial late disclosure.

                    Late Disclosure Of The Close Personal Relationship
                 Between The Key Government Witness And The Prosecutor

       Secondly, in their production on the evening of July 8, 2022, Government counsel for the

first time has advised that the Government’s key fact witness, Kristin Amerling – a primary

witness in obtaining the indictment and a witness the Government intends to call at trial

apparently to testify to all relevant events underlying the charges in this case5 - has a

longstanding relationship with one of the lead prosecutors, AUSA Gaston.

       The Government disclosed on July 8, 2022 that Ms. Amerling and AUSA Gaston worked

together for a period of four years on the same Congressional Committee staff and were also

members of a book club. No other details have been provided. No information has been provided

as to whether the grand jury was advised of this relationship. More than six months ago, the

defense requested bias information. The defense is entitled to such information. Again, there is

no excuse for this late disclosure of information that was known at the time of the indictment.

       The relevant question here is why did the Government wait until the evening of Friday,

July 8, 2022, to disclose well over a hundred pages of documents and new information that ought

to require investigation, consistent with providing effective assistance of counsel? Certainly the

relationship with AUSA Gaston has been known since Ms. Amerling was first interviewed as a

key fact witness in this case and the Government has had the telephone records since November




5
 As the Court is aware from the prior motions in this case, Ms. Amerling was the point person
for communications between Mr. Costello and the Select Committee.
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of 2021 and the subject of its abusive use of subpoenas in this misdemeanor case has been the

topic of a good deal of discussion before the Court.

                              Late Disclosure Of FBI Documents

       Also on July 8, 2022, the Government produced typewritten reports from FBI agent

Stephen Hart, with such notes having been generated in November of 2021 which must now be

compared to notes from FBI agent D’Amico produced in the normal course of discovery to

determine any inconsistencies. [US-002305]. This is purportedly being disclosed now as

“Jencks” material; but it should have been produced earlier with the other notes of interview

concerning Mr. Costello and no excuse is provided for the failure to produce this material with

the other agent’s notes earlier in the case. Additionally, this agent’s pages of handwritten notes

concerning the June 29, 2022, interview are provided.

       Mr. Bannon is providing this information now because the Government only produced it

after the Motion To Continue Trial was fully briefed.

Dated: July 10, 2022                          Respectfully submitted,

                                              SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                                 /s/ M. Evan Corcoran
                                              M. Evan Corcoran (D.C. Bar No. 440027)
                                              400 East Pratt Street – Suite 900
                                              Baltimore, MD 21202
                                              Telephone: (410) 385-2225
                                              Facsimile: (410) 547-2432
                                              Email: ecorcoran@silvermanthompson.com

                                                 /s/ David I. Schoen
                                              David I. Schoen (D.C. Bar No. 391408)
                                              David I. Schoen, Attorney at Law
                                              2800 Zelda Road, Suite 100-6
                                              Montgomery, Alabama 36106
                                              Telephone: (334) 395-6611
                                              Facsimile: (917) 591-7586
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                                          Email: schoenlawfirm@gmail.com


                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 10th day of July, 2022, a copy of the foregoing

Supplement was filed through the Court’s CM/ECF system and was served via electronic delivery

on counsel of record.

                                             /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)
